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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In Re:

         Luz Mensing,                                                Case No.: 8-19-71469-ast
         aka Luz D Mensing                                           Chapter 7

                                   Debtor.

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        AMENDED ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY

         On May 2, 2019, the Motion (the “Motion”) of Ajax Mortgage Loan Trust 2018-F,

Mortgage-Backed Securities, Series 2018-F, by U.S. Bank National Association, as Indenture

Trustee by its servicing agent Gregory Funding, LLC (“Movant”), dated March 15, 2019, came

before the Court, for relief from the automatic stay with respect to the collateral known as

187 Princess Street, Hicksville, New York 11801 (the “Collateral”). This Court, having

considered the evidence presented and the arguments of the parties, and with good cause

appearing therefor, it is hereby

         ORDERED, that the automatic stay in effect pursuant to 11 U.S.C. § 362(a), is hereby

terminated pursuant to 11 U.S.C. Section 362(d)(1) for cause as to Movant, its agents, assigns

or successors in interest, so that Movant, its agents, assigns or successors in interest, may take

any and all action under applicable state law to exercise its remedies against the Collateral;

and it is further

         ORDERED, that the Chapter 7 Trustee shall be served with a copy of the referee’s report

of sale within (30) days of the report [if applicable], shall be noticed with any surplus monies

realized from the sale of the Collateral; and it is further
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     ORDERED, that all other relief sought in the Motion is denied.




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Dated: June 5, 2019                                               Alan S. Trust
       Central Islip, New York                           United States Bankruptcy Judge
